                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

LEMEKIA WATSON, on behalf of herself,             )
                                                  )
                            Plaintiff,            )   CIVIL ACTION No.: 20-cv-157
                                                  )
       v.                                         )
                                                  )   JURY TRIAL DEMANDED
GOLDEN GATE CAPITAL d/b/a                         )
RED LOBSTER                                       )
                   Defendant.                     )
                                                  )


                                         COMPLAINT

       Plaintiff Lemekia Watson (“Plaintiff”), on behalf of herself, brings this action against

Defendant Golden Gate Capital d/b/a Red Lobster (“Defendant” or “Red Lobster”), seeking all

available relief under the Fair Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. §§ 201, et seq.

Plaintiff asserts her FLSA claim as a collective action claim under 29 U.S.C. § 216(b).

                                JURISDICTION AND VENUE

   1. This Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 29 U.S.C. §216(b)

and 28 U.S.C. § 1331.

   2. Venue in this Court is proper pursuant to 28 U.S.C. § 1391.

                                           PARTIES


   3. Plaintiff is an adult resident of North Carolina and was an employee of Defendant who

worked at Defendant’s Red Lobster located in Gastonia, North Carolina from approximately

October 2014 to November 2018.




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   4. Defendant is a California corporation with its corporate office at 1 Embarcadero Center,

Suite 3900, San Francisco, CA 94111. Its registered agent is Cogency Global, Inc. located at

1325 J Street, Suite 1550, Sacramento, CA 95814.

   5. Defendant is an employer covered by the record keeping, minimum wage, wage payment,

and overtime mandates of the FLSA.

                                  FACTUAL ALLEGATIONS

   6. Defendant is a corporation that owns and operates a chain of restaurants in several cities

and has employed hundreds, if not thousands, of servers.

   7. During the period between approximately October of 2014 to November 2018, Plaintiff

was employed as a Server at Defendant’s Red Lobster restaurant located at 200 N New Hope Rd,

Gastonia, NC 28054.

   8. Defendant paid Plaintiff a sub-minimum hourly wage of $2.13, plus any tips earned and

paid by restaurant patrons.

   9. However, Defendant maintains a company-wide policy and practice which required

Plaintiff to spend more than 20% of their work time performing non-tip producing work. Such

non-tip producing work includes, but is not limited to, washing walls; cleaning up trash; cleaning

the galley; cleaning out salad coolers; rolling silverware; scraping gum off of tables; bussing

tables; vacuuming; breaking down the soda machine, tea machine, and coffee machine; breaking

down the soup station; breaking down the butter station; and breaking down the dessert station.

   10. Defendant paid Plaintiff a sub-minimum hourly wage of $2.13 for time spent performing

the non-tip producing work described in paragraph 9. While performing this work, Plaintiff is

unable to earn tips from restaurant patrons.




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   11. Defendant utilizes a “tip credit” in the amount of $5.12 for each hour worked by Plaintiff

in an effort to satisfy the FLSA’s mandate that employees receive a minimum wage of at least

$7.25/hour.

   12. Defendant required Plaintiff to perform non-tip producing work while they were not

serving patrons in the restaurant. This non-tip producing side work was a requirement that

Defendant imposed on Plaintiff on a routine basis. Plaintiff estimates that she would spend at

least a half hour before her shift, an hour after her shift, and several hours in between on

performing non-tip producing work.

   13. In the absence of discovery, Plaintiff estimates that she spent an average of

approximately 70% of her time each workweek performing non-tip producing work. Thus,

Plaintiff routinely spent more than 20% of her time performing non-tip producing work.

   14. Upon information and belief, Defendant required its Servers at all of its Waffle House

restaurants to spend more than 20% of their time performing non-tip producing work while

earning a sub-minimum wage.

                                             COUNT I

                 VIOLATION OF THE FAIR LABOR STANDARDS ACT,
              29 U.S.C. § 201, et seq. – VIOLATION OF DUAL JOBS PROVISION

   15. Plaintiff hereby incorporates all preceding paragraphs.

   16. Under the tip-credit provisions of the FLSA, an employer of tipped employees may, in

limited circumstances, pay those employees a sub- minimum hourly wage and take a “tip credit”

against its minimum wage obligations.

   17. However, an employer is not permitted to take a tip credit against its minimum wage

obligations when it requires its tipped employees to perform non-tip producing work that is

unrelated to the employee’s tipped occupation. See e.g., Driver v. AppleIllinois, LLC, 739 F.3d


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1073, 1075 (7th Cir. 2014) (Posner, J.) (explaining that when tipped employees perform “non-

tipped duties” that “are unrelated to their tipped duties . . . such as, in the case of restaurant

servers, washing dishes, preparing food, mopping the floor, or cleaning bathrooms, they are

entitled to the full minimum wage for the time they spend at that work”) (emphasis added).

   18. Defendant violated the FLSA by requiring Plaintiff to perform non-tip producing work

that is unrelated to their tipped occupation, such as, inter alia, cleaning under tables, sweeping

and mopping the floors, washing the walls and windows, cleaning the vents, wiping down the

lamps, spraying insect repellant, disassembling, cleaning and reassembling the dish tank, soda,

and orange juice machines, bringing ice from the back of house to the front, taking out the trash,

and doing dishes.

   19. At all times during Plaintiff’s employment, Defendant paid them at the sub-minimum

hourly wage rate.

   20. As a result, Defendant failed and/or refused to pay Plaintiff the full applicable minimum

wage as required by the FLSA for each and every workweek they were employed by Defendant,

in violation of 29 U.S.C. § 206(a).

   21. Defendant knew that – or acted with reckless disregard as to whether – its failure to pay

Plaintiff the full applicable minimum wage, without applying the tip credit, for time spent

performing labor in such an unrelated non-tipped occupation, would violate federal law and

Defendant was aware of the FLSA minimum wage requirements at all relevant times. As such,

Defendant’s conduct constitutes a willful violation of the FLSA.

   22. Plaintiff is therefore entitled to compensation for the full minimum wage at an hourly

rate, to be proven at trial, plus an additional equal amount as liquidated damages, together with

interest, reasonable attorneys’ fees, and costs



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                                        COUNT II
                VIOLATION OF THE FAIR LABOR STANDARDS ACT,
       29 U.S.C. § 201, et seq. – VIOLATION OF THE TWENTY PERCENT RULE

   23. Plaintiff hereby incorporates all preceding paragraphs.

   24. Under the tip-credit provisions of the FLSA, an employer of tipped employees may, in

limited circumstances, pay those employees less than the minimum hourly wage and take a “tip

credit” against its minimum wage obligations.

   25. However, an employer is not permitted to take a tip credit against its minimum wage

obligations when it requires its tipped employees to perform non-tip producing side work that,

although related to the employee’s tipped occupation, exceeds 20% of the employees’ time

worked during a shift. See e.g., Fast v. Applebee’s Int’l, Inc., 638 F.3d 872, 880 (8th Cir. 2011)

(“employees who spend ‘substantial time’ (defined as more than 20 percent) performing related

but nontipped duties should be paid at the full minimum wage for that time”).

   26. To the extent Plaintiff’s non-tip producing work of, for example, cleaning under tables,

sweeping and mopping the floors, washing the walls and windows, cleaning the vents, wiping

lwdown the lamps, spraying insect repellant, disassembling, cleaning and reassembling the dish

tank, soda, and orange juice machines, bringing ice from the back of house to the front, taking

out the trash, and doing dishes is found to be related to their tipped occupation, Defendant

violated the FLSA by requiring Plaintiff to perform this non-tip producing work for more than

20% of their weekly work hours.

   27. At all times during Plaintiff’s employment, Defendant paid them at the sub-minimum

hourly wage rate.




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   28. As a result, Defendant failed and/or refused to pay Plaintiff the full applicable minimum

wage as required by the FLSA for each and every workweek they were employed by Defendant,

in violation of 29 U.S.C. § 206(a).

   29. Defendant knew that – or acted with reckless disregard as to whether – its failure to pay

Plaintiff the full applicable minimum wage, without applying the tip credit, for time spent

performing such non-tip producing work for more than 20% of their weekly hours, would violate

federal law and Defendant was aware of the FLSA minimum wage requirements at all relevant

times. As such, Defendant’s conduct constitutes a willful violation of the FLSA.

   30. Plaintiff is therefore entitled to compensation for the full minimum wage at an hourly

rate, to be proven at trial, plus an additional equal amount as liquidated damages, together with

interest, reasonable attorneys’ fees, and costs.

                                      JURY TRIAL DEMAND

       Plaintiff demands a jury trial as to all claims so triable.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself, seeks the following relief:

   A. All unpaid wages owed;

   B. A finding that Defendant’s conduct was willful;

   C. Prejudgment interest;

   D. Liquidated damages;

   E. Litigation costs, expenses, and attorneys’ fees; and

   F. Such other and further relief as this Court deems just and proper.




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Date: March 12, 2020                  Respectfully Submitted,

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*pro hac vice admission anticipated




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